Case 6:18--cr OOO70- -CE};L\TBS Document 8 Filed 04/03/18 Page 1 of 1 Page|D 15

Ao 442 (Rev. 11/11) Arresz warrant /*\’W"‘¢*’ l*» ID =l=\‘ \ O 6 qO 36
UNITED STATES DISTRICT COURT .

for the '1 ' '

 
   

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United States of America ) ' iii L`DA§E%;CFTL%;Z];BRIDA
V. ) Case No. .6118~01°- ~\B~ D{LL: \M ..TQ_S
)
)
MARc MALAcAso g
Dejéndant

ARREST WARRANT

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To:

'lV\-lSHVW `S'll

Any authorized law enforcement officer

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vuitton sworn
z_;\ =8 l~N é'(`, a-.*.~l wit

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) |V|ARC MA|_ACASO

who is accused of an offense or'violation based on the following document filed with the court

d Indictment CI Superseding Indictrnent

fj Information
El Probation Violation Petition

Cl Superseding Inforrnation
|:l Supervised Release Violation Petition

|:l Violation Notice CI Order of the Court
This offense is briefly described as follows:

EI Complaint

Unauthonzed access of a computer, in violation of 18 U.S.C. § 1030(a)(5)(A)

Date: 3\1% l ig

 

 

` hsuing ojit';erif signature
City and state: Orlando, F|orlda

EL|ZABETH WARREN, C|erk,:Un`ltéd-Sf-a:l\e_$ District Court

Printed name and-title "

 

Return

 

This warrant was received on (dare) 3/24‘ /wa ,and the person was arrested on (date) Z/Qf 2013
at (city and state) 0{`/47,¢/¢ pb

Date: §/2‘-? /z¢> cf M

Arresting ojz`cer 's signature

/4{0 MO/'<)£ /‘4 /‘i*’MMvH/é

Printed name and title

 

 

 

